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®AO245B (Rev. 12/03) Judgment in a Criminal Case SCP/ped (PACTS #10652)
Sheet 1 &]
? us. OTT r COURT
UNITED STATES DISTRICT COURT ocr A 2005
WESTERN District of NEW YORK ain
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL
¥,
FRANK CANNATA Case Number: 1:04M00149-001
USM Number: 13913-0554
Roy Carlisi
Defendant’s Attomey
THE DEFENDANT:
(I pleaded guilty to count(s) I

 

CJ pleaded nolo contendere to count(s)

 

which was accepted by the court.
[4 was found guilty on count(s)

 

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
21 U.S.C, $844(a} Possession of Methamphetamine 12/15/04 I
The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
[ The defendant has been found not guilty on count(s)

 

IX] Criminal Complaint 1:04M00149-001 J is (© are dismissed on the motion of the United States.

 

__ It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgmentare fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

September 28, 2005

Datg “LAG of Judg

 

 

Be tpre of Judge

H. Kenneth Schroeder, Jr., U.S. Magistrate Judge
Name and Title of Judge

Sevtuab CH a4, Sos

Date F

 
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AO 245B (Rev. 12/03) Judgment in a Criminal Case SCP/ped (PACTS #10652}
Sheet 4—Probation

* Judgment—Pape 2 of 3
DEFENDANT: FRANK CANNATA
CASE NUMBER: 1:04M00149-001

PROBATION

The defendant is hereby sentenced to probation for a term of : two (2) years

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controtled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.

CL) The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicabie.)

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as required by the Justice for All Act of 2004. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

Oo O#8HB

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and fellow the instructions of the probation officer,
4} the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shail notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged incriminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer,

12} the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record, or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
cfendant’s

compliance with such notification requirement.
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AO 2455 (Rev. 12/03) Judgment in a Criminal Case SCPiped (PACTS #10652)
Sheet 4C — Probation

Judgment—Page 3 of 5

—_—_—

DEFENDANT: FRANK CANNATA
CASE NUMBER: 1:04M00149-001

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall enter into drug/alcohol treatment, to include urinalysis and other testing, the details of such
treatment to be approved by the U-S. Probation Office. The defendant is not to leave treatment until discharge
is agreed to by the U.S. Probation Office and treating agency. While in treatment and after discharge from
treatment, the defendant is to abstain from the use of alcohol. The defendant is required to contribute to the cost
of services rendered (co-payment) in an amount approved by the probation officer based on ability to pay or
availability of third party payment.

The defendant shali submit to a search of his person, property, vehicle, place of residence or any other property
under his control and permit confiscation of any evidence or contraband discovered.

 
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AQ2458 — (Rev. 12/03} Judgment in a Criminal Case SCP/ped (PACTS #10652)
Sheet 5 — Criminal Monetary Penalties

Judgment — Page 4 of 5

 

DEFENDANT: FRANK CANNATA
CASE NUMBER: 1:04M00149-001
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

; Assessment Fine Restitution
TOTALS § 25 $ 0 $0
[1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
[1 The defendant must make restitution (inchiding community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately “pre ortioned payment, unless specified otherwise in
the priority order or percentage payment column below, However, pursuant to 18°U.S.C. § 3664(4), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ $

L1 Restitution amount ordered pursuant to plea agreement $

Cs The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C, § 3612(g).

(1 = The court determined that the defendant does not have the ability to pay interest and it is ordered that:
C1 the interest requirement is waived for the C] fine (1 restitution.

[1 the interest requirement forthe [1 fine [1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996,
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AOQ245B — (Rev. 12/03) Judgment in a Criminal Case . SCP/ped (PACTS #10652)
Sheet 6 — Schedule of Payments

, . Judgment -— Page 5 of 5
DEFENDANT: FRANK CANNATA
CASE NUMBER: 1:04M00149-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A CO Lump sum payment of $ due immediately, balance due

[] not later than

, or
Osim accordance LO cg Up CJ] E,or OIF below: or

x] Payment to begin immediately (may be combined with Oc, [1 p,or IF below); or
c (1 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D [Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (1 Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F Bl Special instructions regarding the payment of criminal monetary penalties:
The defendant shall pay a $25 special assessment fee, which shall be due immediately.

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penaitics is due during
imprisonment, All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed,

[] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[] The defendant shall pay the cost of prosecution.
[J ‘The defendant shall pay the following court cost(s):

C] = The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalt

ies, and (8) costs, mcluding cost of prosecution and court costs.

 
